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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


NEAL PARKER, WILBERT CARLTON,
CARL E. BROWN, RALPH GRIFFIN, JR.,
and SAMUEL WALKER,

                   Plaintiffs,

                     v.                        Civil Action No.
                                               1:04-CV-606-RWS
BRUSH WELLMAN INC., SCHMIEDE
MACHINE AND TOOL CORPORATION,
THYSSENKRUPP MATERIALS NA, INC.
(d/b/a COPPER AND BRASS SALES),
ALCOA, INC., and McCANN
AEROSPACE MACHINING
CORPORATION,

                   Defendants,




   PLAINTIFFS’ MOTION TO ENFORCE SUBPOENA AND COMPEL
               PRODUCTION OF DOCUMENTS BY
              LOCKHEED MARTIN CORPORATION

      For the reasons set forth in the accompanying memorandum, Plaintiffs

respectfully request that the Court enforce Plaintiffs’ Subpoena and compel

Lockheed Martin Corporation to produced documents responsive thereto.
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                            Respectfully submitted


                            _/s/ Ruben Honik___________
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                FOR THE NORTHERN DISTRICT OF GEORGIA
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NEAL PARKER, WILBERT CARLTON,
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THYSSENKRUPP MATERIALS NA, INC.
(d/b/a COPPER AND BRASS SALES),
ALCOA, INC., and McCANN
AEROSPACE MACHINING
CORPORATION,

                      Defendants,



     PLAINTIFFS’ MEMORANDUM TO ENFORCE SUBPOENA AND
           COMPEL PRODUCTION OF DOCUMENTS BY
              LOCKHEED MARTIN CORPORATION


       Plaintiffs in this case, who for years unwittingly machined beryllium1

products without adequate knowledge about, or protection from, the health risks

associated with beryllium, are seeking essential information about the products that

1
 Beryllium, a metal that is lighter than aluminum and stiffer than steel and is used in many
military and commercial applications, is a dangerous toxin. Plaintiffs in this and the related
Berube case sued the Defendants because of injuries they sustained due to Defendants= failure to
warn plaintiffs of the hazards of exposure to respirable beryllium.
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they worked with from their employer, non-party Lockheed Martin Corporation

(“Lockheed”), and move for an Order enforcing their subpoena and compelling the

production of documents.

1.        FACTS

          1.     The Plaintiffs in this case seek damages for personal injuries they

suffered while working at Lockheed’s aircraft assembly plant in Marietta, Georgia.

The Defendants are suppliers of beryllium-containing parts and products which

were used at the Marietta plant, and which caused Plaintiffs’ injuries.2


          2.     Plaintiffs served a subpoena on Lockheed, on September 8, 2008. See

Exhibit 1. Plaintiffs’ subpoena requested three discrete categories of documents,

and related documents, which were not previously produced by Lockheed in this

case:


                Detail prints, which are technical drawings that lay out specifications
                 and material requirements for a part, so that a manufacturer can
                 fabricate a part for inclusion in an aircraft. It is the “shopping list”
                 made up by Lockheed and given to its suppliers of beryllium-
                 containing parts;

                Operations Cards, which are step-by-step instructions for completing
                 a task in the construction or testing of an airplane; and

                Assembly Prints, which are the blueprints for an airplane and set out
                 instructions for combining the parts in a detail print. This is the
                 “recipe” used by Lockheed that stated how the beryllium parts were
                 used and reveals what dust and particulate were generated by required

2
    Lockheed, originally a defendant, was dismissed from the case on April 29, 2005. [95].

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             operations.
See Exhibit 1.
      3.     Lockheed moved to quash Plaintiffs’ subpoena on October 29, 2008.

[233]. Plaintiffs opposed Lockheed’s motion. [236].


      4.     In June 1, 2009, the Court entered an order denying Lockheed’s

Motion to quash. [267]. In doing so, the Court ordered that “Lockheed shall be

required to produce information of the nature sought by Plaintiff’s document

subpoena.” Id. The Court also encouraged the Plaintiffs and Lockheed to confer

with regard to narrowing the scope of Plaintiffs’ subpoena.


      5.     On June 2, 2009, counsel for Plaintiffs wrote to counsel for Lockheed

with a proposal for limiting the scope of the subpoena. See Letter by Ruben

Honik, dated June 2, 2009, attached as Exhibit 2. Plaintiffs’ counsel’s proposal

limited the request for documents in time, and also limited the number of aircraft

about which documents were being sought. Id.


      6.     On June 10, 2009, counsel for Lockheed issued a counter-proposal.

See Letter by Barry Goheen, dated June 10, 2009, attached as Exhibit 3.

Lockheed’s counsel agreed to produce certain categories of documents pursuant to

Plaintiff’s subpoena. Id.


      7.     On June 18, 2009, Plaintiffs’ counsel wrote to counsel for Lockheed


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agreeing to the framework for production outlined by Lockheed. See Letter by

Ruben Honik dated June 18, 2009, attached as Exhibit 4. Lockheed agreed to

produce, at a minimum, documents relating to the F-22, the C-130, and the C-5,

and Plaintiffs requested additional materials relating to the P-3, S-3, and L-1011.

Id.


      8.        On July 6, 2009, counsel for Plaintiffs wrote to Lockheed requesting a

status update, as no documents had been produced. See E-mail from Ruben Honik,

dated July 6, 2009, attached as Exhibit 5.


      9.        Counsel for Lockheed responded that he did not have a timetable for

production, as of yet. See Email from Barry Goheen dated July 6, 2009, attached

as Exhibit 6.


      10.       On August 17, 2009, counsel for Plaintiffs again requested an update

on the status of production. See Email by Stephan Matanovic dated August 17,

2009, attached as Exhibit 7.


      11.       Counsel for Lockheed responded and would not commit to a specific

time-table, despite the impending approach of the end of discovery in this case.

See Email from Barry Goheen, attached as Exhibit 8.


      12.       On September 9, 2009, counsel for Lockheed produced to Plaintiffs



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documents relating to the C-130 only. See Letter from G. Alexander Panos dated

September 9, 2009, attached as Exhibit 9.


      13.    As of this writing, Lockheed has not produced a significant portion of

the documents that it was ordered to, and agreed to produce. Specifically,

Lockheed has not produced documents relating to the F-22, C-5, P-3, S-3, and L-

1011 aircraft.


      14.    The documents sought from Lockheed – detail prints, assembly prints,

and operations cards for the F-22, C-5, P-3, S-3, and L-1011 aircraft – are the only

means of ascertaining with specificity which beryllium parts the Plaintiffs were

exposed to, how they worked with those parts, and what warnings they were

provided accompanied them. Without such information, Plaintiffs will be severely

prejudiced in preparing their case for trial.


2.    Argument and Citation of Authority


      A,     Lockheed Should Be Ordered to Comply With Plaintiffs’
             Subpoena
      “The Federal Rules of Civil Procedure… strongly favor full discovery

whenever possible.” Moore v. Armour Pharma. Co., 927 F.2d 1194, 1197 (11th

Cir. 1991). A District Court may quash or modify a subpoena only if it is

“unreasonable and oppressive." Id. The party seeking to quash a subpoena has the



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burden of proof to demonstrate "that compliance with the subpoena would be

'unreasonable and oppressive.'" Williams v. City of Dallas, 178 F.R.D. 103, 109

(N.D. Tex. 1998) (quoting Barnes Found. v. Township of Lower Merion, 1997 U.S.

Dist. LEXIS 4444, 1997 WL 169442, at *4 (E.D. Pa. Apr. 7, 1997)). "Whether a

burdensome subpoena is reasonable 'must be determined according to the facts of

the case,' such as the party's need for the documents and the nature and importance

of the litigation." Linder v. Department of Defense, 328 U.S. App. D.C. 154, 133

F.3d 17, 24 (D.C. Cir. 1984) (quoting Northrop Corp. v. McDonnell Douglas

Corp., 243 U.S. App. D.C. 19, 751 F.2d 395, 407 (D.C. Cir. 1984)).


      Lockheed has already failed to quash Plaintiffs’ subpoena, which should

now be enforced.


            A.     The Court Has Already Ordered Lockheed To Produce
                   Documents Sought By Plaintiffs, But Lockheed Has
                   Essentially Ignored Its Obligations
      On June 1, 2009, the Court entered an order denying Lockheed’s Motion to

quash. [267]. The Court ordered that “Lockheed shall be required to produce

information of the nature sought by Plaintiff’s document subpoena…” once the

scope was narrowed, which was accomplished in June 2009. Id. Despite the

Court’s explicit order, Lockheed has not produced the majority of documents that

it was ordered to produce. Specifically, Lockheed has not produced documents

relating to the F-22, C-5, P-3, S-3, and L-1011 aircraft. Lockheed’s only

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production pursuant to the Court’s Order was made on September 9, 2009, and

contained only documents relating to the C-130. See Exhibit 9.


      There is simply no excuse for Lockheed’s delay, and Lockheed has taken no

steps to seek additional time from the Court, or to apprise the parties of when they

can expect production of the remaining documents.


3.    Conclusion
      Given the current case management deadlines, Lockheed is in effect

depriving Plaintiffs of documents necessary for the completion of discovery in this

case. Lockheed is the only entity that can provide the documents and information

sought in Plaintiffs’ subpoena: there is simply no basis for Lockheed to continue

to refuse to comply with its obligations in this case.




                                        Respectfully submitted

                                        _/s/ Ruben Honik___________
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                             COUNSEL FOR PLAINTIFFS




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CERTIFICATE OF SERVICE

I, Stephan Matanovic, hereby certify that the undersigned electronically filed the
foregoing with the Clerk of the Court by electronic filing:
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This 10th day of September, 2009

                                               _/s/ Stephan Matanovic__
                                               Stephan Matanovic


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